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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-163V
                                       Filed: July 1, 2022
                                         UNPUBLISHED


    AMY J. JOHNSON, on behalf of P.J., a                          Special Master Horner
    minor,
                                                                  Measles Mumps Rubella (MMR)
                         Petitioner,                              Vaccine; Haemophilus
    v.                                                            Influenzae Type B (Hib)
                                                                  vaccine; Hepatitis A (Hep A)
    SECRETARY OF HEALTH AND                                       Vaccine; Pneumococcal
    HUMAN SERVICES,                                               (Prevnar 13) Vaccine;
                                                                  thrombocytopenia purpura
                        Respondent.


Mark Theodore Sadaka, Sadaka Associates, LLC, Englewood, NJ, for petitioner.
Sarah Black Rifkin, U.S. Department of Justice, Washington, DC, for respondent.

                                                DECISION 1

       On January 30, 2019, petitioner filed a claim under the National Childhood
Vaccine Injury Act, 42 U.S.C. § 300aa-10-34 (2012), alleging that her minor daughter
suffered thrombocytopenia purpura as a result of her April 26, 2016 Measles Mumps
Rubella (“MMR”), Haemophilus Influenzae Type B (“Hib”), Hepatitis A (“Hep A”), and
Pneumococcal (“Prevnar 13”) vaccinations. (ECF No. 1.) On January 21, 2020,
respondent filed his Rule 4 report, recommending against compensation. (ECF No. 26.)
On June 29, 2022, petitioner filed a Motion for a Decision Dismissing her Petition. (ECF
No. 57.)

        To receive compensation in the Vaccine Program, petitioner must prove by
preponderant evidence either (1) that she suffered a “Table Injury” – i.e., an injury falling
within the Vaccine Injury Table – corresponding to a covered vaccine and occurring
within the specified timeframe, or (2) that she suffered an injury that was actually

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  Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.
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caused by a covered vaccine. See §§ 13(a)(1)(A) and 11(c)(1). To satisfy her burden
of proving causation in fact, petitioner must show by preponderant evidence: “(1) a
medical theory causally connecting the vaccination and the injury; (2) a logical
sequence of cause and effect showing that the vaccination was the reason for the
injury; and (3) a showing of a proximate temporal relationship between vaccination and
injury.” Althen v. Sec’y of Health & Human Servs., 418 F.3d 1274, 1278 (Fed. Cir.
2005). Thrombocytopenic purpura is a Table Injury for the MMR vaccine if it occurs
between 7- and 30-days following vaccination. 42 C.F.R. §100.3(a)(V).

        In this case the vaccine(s) at issue were administered on April 26, 2016. (Ex. 4,
pp. 9-12, 26.) Within nine days, P.J. developed a rash in the context of a low-grade
fever. (Ex. 4, pp. 8-9.) The diagnosis was viral exanthem. (Ex. 14, p. 1.) A photograph
of the rash dated May 6, 2016, was also filed. (Ex. 15.) On May 24, 2016, P.J.
presented for care for an ear infection. (Ex. 5, p. 6.) Examination indicated the skin
was “normal, no lesions.” (Id.) Subsequently P.J. again developed a rash in early June.
(Ex. 4, pp. 2-4; Ex. 2, pp. 170-73.) P.J. was diagnosed with thrombocytopenia on June
9, 2016, in light of a low platelet count. (Ex. 2, p. 166.) Petitioner filed an expert report
by hematologist Clinton F. Merrill, Jr., M.D. (Ex. 38.) Dr. Merrill premised his opinion on
the May 6, 2016 photograph demonstrating onset of P.J.’s thrombocytopenia occurred
at the time of the first rash. He noted, however, that “[s]ince the treating physician
neglected at that time to perform a complete blood count, one cannot necessarily prove
this assertion.” (Ex. 38, p. 5.) Respondent filed an expert report by hematologist Cindy
Neunert, M.D. (Ex. A.) Among other issues discussed, Dr. Neunert agreed with the
treating physician that the May 6, 2016 rash was a viral exanthem. (Ex. A, p. 7.) She
further suggested that the medical records demonstrate a separate rash onset occurring
in early June and P.J.’s normal skin exam on May 24, 2016, would be inconsistent with
onset occurring on May 5, 2016. (Id.) After her expert’s review of Dr. Neunert’s report,
petitioner determined that she would dismiss her case. (ECF Nos. 54-57.)

        Neither petitioner’s medical records nor her expert reports support her allegations
by a preponderance of the evidence. Accordingly, the undersigned GRANTS
petitioner’s motion and DISMISSES this petition for failure to establish a prima facie
case of entitlement to compensation. The clerk of the court is directed to enter
judgment in accordance with this decision. 2

IT IS SO ORDERED.

                                                                  s/Daniel T. Horner
                                                                  Daniel T. Horner
                                                                  Special Master


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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.

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